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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


MALIBU MEDIA, LLC,

                       Plaintiff,
                                                     Case No. 1:14-cv-05220
                                                     Judge Robert W. Gettleman
v.

PETER SATTLER,

                  Defendant.
__________________________________/

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Malibu Media, LLC and Defendant Peter Sattler, subscriber assigned IP

address 24.14.38.244, by their undersigned counsel, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, hereby stipulate that all claims asserted against each other in

this matter are hereby dismissed with prejudice.

       WHEREFORE, Plaintiff and Defendant Peter Sattler respectfully request that this Court

enter an order dismissing with prejudice all Plaintiff’s and Defendant Peter Sattler’s claims

against each other, with each party to bear its own attorneys’ fees and costs.

       Consistent herewith Plaintiff and Defendant consent to the Court having its case closed

for administrative purposes.

                                      Respectfully submitted,


/s/ Mary K. Schulz______________                     /s/ Erin Kathryn Russell
Mary K. Schulz, Esquire                              Erin Kathryn Russell, Esquire
Media Litigation Firm, P.C.                                  The Russell Firm
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Attorney for Plaintiff                       Attorney for Defendant




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                               CERTIFICATE OF SERVICE


I hereby certify that on June___, 2015, the foregoing Stipulation of Dismissal was filed
electronically. Service of this filing will be made on all ECF-registered counsel by operation of
the Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                                    By: /s/ Mary K. Schulz_____________
                                                    Mary K. Schulz




                      IN THE UNITED STATES DISTRICT COURT
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